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     JOSEPH NOLAN
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 8
                               IN THE UNITED STATES DISTRICT COURT
 9
                            EASTERN DISTRICT OF CALIFORNIA, FRESNO
10
                                                       *****
11
12   UNITED STATES OF AMERICA,                          )   Case No.: 10-CR-0131 AWI
13                                                      )
                    Plaintiff,                          )   STIPULATION TO CONTINUE
14          vs.                                         )   DEFENDANT, JOSEPH NOLAN'S
                                                        )   REQUEST TO TRAVEL
15                                                      )
     JOSEPH NOLAN,
16                                                      )
                                                        )
17                  Defendant.
                                                        )
18
19          IT IS HEREBY STIPULATED between the Defendant, JOSEPH NOLAN, by and through his
20
     attorney-of-record, Anthony P. Capozzi, and Plaintiff, by and through Assistant United States Attorney,
21
     Karen Escobar, that the Hearing now set for Monday, November 29, 2010 be continued to Monday,
22
23   December 6, 2010 at 1:30 p.m.

24          It is further stipulated by the parties that any delay resulting from this continuance shall be excluded
25   on the following basis:
26
27
28                                                          1
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 1                a.     Title 18, United States Code, Section 3161(h)(7)(A) -- that the ends of justice served

 2                       by taking such action outweighs the best interest of the public and the defendant in
                         a speedy trial.
 3
 4
                  b.     Title 18, United States Code, Section 3161(h)(7)(B)(ii) -- that it is unreasonable to
 5
                         expect adequate preparation for pre-trial proceedings or for the trial itself with the
 6
                         time limits established due to the complexity of the case.
 7
                                                                Respectfully submitted,
 8
 9
     Dated: November 24, 2010
10                                                                     /s/ Anthony P. Capozzi
11                                                              Anthony P. Capozzi,
                                                                Attorney for Defendant,
12                                                              JOSEPH NOLAN
13
14   Dated: November 24, 2010
                                                                          /s/ Karen Escobar
15                                                              Karen Escobar,
                                                                Assitant United States Attorney
16
17
18                                                ORDER
19         IT IS SO ORDERED. Good cause having been shown, the Hearing now set for Monday,
20   November 29, 2010 is vacated and continued to Monday, December 6, 2010 at 1:30 p.m.
21   Additionally, time shall be excluded by stipulation from the parties and pursuant to 18 U.S.C. §§
22   3161(h)(7)(A) and 3161(h)(7)(B)(ii).

23
     IT IS SO ORDERED.
24
25   Dated:   November 29, 2010
     0m8i78                                                CHIEF UNITED STATES DISTRICT JUDGE
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27
28                                                     2
